Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 1 of 18 PageID# 405



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Newport News Division


 GEORGIA VOCATIONAL REHABILITATION
 AGENCY BUSINESS ENTERPRISE PROGRAM et al,

                         Plaintiffs,

                   V.                                                           Civil Action No. 4:18cvl48


 UNITED STATES OF AMERICA,

                         Defendant.

                                           OPINION & ORDER


        This matter comes before the Court on Georgia Vocational Rehabilitation Agency Business

 Enterprise Program ("GA-SLA") and Michael C. Lee's ("Mr. Lee")(collectively "Plaintiffs'")

 Motion for Temporary Restraining Order (the "Motion"). Doc. 2. A hearing in this matter was

 held on Tuesday, December 4, 2018 at 11:00 a.m. For the reasons stated below, the Court

 GRANTED Plaintiffs' Motion.


                                           1.       BACKGROUND

        A. Factual Allegations

        Plaintiffs' bring this action pursuant to the Randolph-Sheppard Act ("RSA") and Army

 Regulation ("AR") 210-25 against the United States of America, by and through the Honorable

 James N. Mattis, Secretary of Defense, The Honorable Mark Thomas Esper, Secretary of the

 Army, and Contracting Officer Rhoda C. Harrison-Spence,(collectively "the Government"). S^

 Compl. Both the RSA and AR 210-25 provide priority for blind persons in the operation of

 vending facilities on Federal property. Compl. H 1. Plaintiffs are currently performing the food


       'At the hearing, the Government raised an issue regarding Plaintiff Lee's standing, however this is a moot
        point. The Government concedes that the GA-SLA has standing, and any damage to Mr. Lee would
        inevitably damage the GA-SLA.

                                                       1
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 2 of 18 PageID# 406
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 3 of 18 PageID# 407
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 4 of 18 PageID# 408
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 5 of 18 PageID# 409
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 6 of 18 PageID# 410
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 7 of 18 PageID# 411
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 8 of 18 PageID# 412
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 9 of 18 PageID# 413
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 10 of 18 PageID# 414
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 11 of 18 PageID# 415
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 12 of 18 PageID# 416
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 13 of 18 PageID# 417
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 14 of 18 PageID# 418
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 15 of 18 PageID# 419
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 16 of 18 PageID# 420
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 17 of 18 PageID# 421
Case 4:18-cv-00148-HCM-LRL Document 20 Filed 12/11/18 Page 18 of 18 PageID# 422
